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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
       JONATHAN ROBERTS and CHARLES
       VAVRUSKA,                                            MEMORANDUM & ORDER
                                  Plaintiffs,                22-CV-710 (NGG) (RML)
                      -against-
        MARY T. BASSETT, in her official capacity as
        Commissioner for NEW YORK STATE
        DEPARTMENT OF HEALTH, and the
        DEPARTMENT OF HEALTH AND MENTAL
        HYGIENE OF THE CITY OF NEW YORK,
                                  Defendants.


              NICHOLAS G. GARAUFIS, United States District Judge.

              Plaintiffs Jonathan Roberts and Charles Vavruska request that
              this court issue a preliminary injunction to enjoin Mary T. Bas-
              sett, the Commissioner of the New York State Department of
              Health (the "State Defendant") and the Department of Health
              and Mental Hygiene of the City of New York ("DOHMH" or the
              "City Defendant," collectively, "Defendants") from distributing
              COVID-19 treatments on the basis of race. For the reasons ex-
              plained below, this court lacks subject matter jurisdiction over
              this dispute because Plaintiffs have not demonstrated Article III
              standing. Thus, as there is no case or controversy before this
              court, the court declines to consider Plaintiffs' motion for a pre-
              liminary injunction, and the case is DISMISSED.

              I.   BACKGROUND

              In December 2021, the Food and Drug Administration ("FDA")
              issued Emergency Use Authorization (''EUA'1) for several promis-
              ing new oral antiviral therapies, including Paxlovid,
              Molnupiravir, and Sotrovimab (the ''Treatments"), to treat




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              COVID-19. 1 (State Def.'s Mem. in Opp. to Pl.'s Mot. for Prelim.
              Inj. at 2-3 (State's Opp.) (Dkt. 22).) The FDA authorized the
              Treatments for individuals ''who are at high risk for progression
              to severe COVID-19."2 The EDA provides that "information on
              medical conditions and factors associated with increased risk for
              progression to severe COVID-19" can be found on the "People
              with Certain Medical Conditions" page of the United States Cen-
              ters for Disease Control and Prevention ("CDC") website. 3
              During the Omicron surge this winter, there were shortages of
              the Treatments in New York. (Pl's Mem. in Supp. of. Mot. for
              Prelim. Inj. at 1 (Mot.) (Dkt. 19); State's Opp. at 3.) Given the
              limited supply of the Treatments, on December 27, 2021, the
              State Defendant and City Defendant published guidance for allo-
              cating them.
              The State's guidance ("State Guidance"), which is addressed to
              "Health Care Providers and Health Care Facilities," informs pro-
              viders that "[s]upplies of oral antivirals will be extremely limited
              initially." (Dec. 27, 2020 Mem. to Providers at 2 (Dkt. 1-4).) As
              a result, "[w]hile supplies remain low," providers are instructed
              to "adhere to the NYS DOH guidance on prioritization" and "pri-
              oritize therapies for people of any eligible age who are
              moderately to severely immunocompromised regardless of vac-
              cination status or who are age 65 and older and not fully
              vaccinated with at least one risk factor for severe illness." (Id.)

              1Sotromivab was the only authorized monoclonal antibody therapeutic
              expected to be effective against the Omicron variant.
              2Food & Drug Admin., Emergency Use Authorization for Paxlovid (Dec.
              22, 2021), https://www.fda.gov/media/155049/download; see also Food
              & Drug Admin., Emergency Use Authorization for Molnupiravir (Feb. 4,
              2022), https://www.fda.gov/media/155053/download; Food & Drug Ad-
              min., Emergency Use Authorization for Sotrovimab (Feb. 23, 2022),
              https://www.fda.gov/media/149532/download; Food & Drug Admin.,
              Frequently Asked Questions on the Emergency Use Authorization of Sotro-
              vimab (Feb. 23, 2022), https://www.fda.gov/media/149535/download.
              3Ctrs. for Disease Control & Prevention, People With Certain Medical Con-
              ditions (Feb. 25, 2022), https://www.cdc.gov/coronavirus/2019-
              ncov/need-extra-precautions/people-with-medical-conditions.html.




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              The State Guidance provides that the Treatments are authorized
              for patients who (i) are twelve or older, (ii) test positive for
              COVID-19, (iii) have mild to moderate symptoms, (iv) are able
              to start treatment within five days of symptom onset, and (v)
              have a medical condition or other factors that increase risk for
              severe illness. (Id. at 3.) With respect to risk factors, the State
              Guidance explains that "[n]on-white or Hispanic/Latino ethnic-
              ity should be considered a risk factor, as longstanding systemic
              health and social inequities have contributed to an increased risk
              of severe illness and death from COVID-19." (Id.)
              The State Guidance also includes a table that delineates how to
              prioritize distribution of the Treatments during "times of re-
              source limitations." (Prioritization Guidance at 2 (Dkt. 1-5).) The
              table creates risk groups based on vaccination, age, immunocorn-
              prornised status, and a number of "risk factors for severe illness."
              (Id. at 3.) The Guidance provides a recommended approach and
              notes of prioritization for each risk group. At issue here is a note
              that provides that "[n]on-white race or Hispanic/Latino ethnicity
              should be considered a risk factor, as longstanding systemic
              health and social inequities have contributed to an increased risk
              of severe illness and death from COVID-19." (Id. at 4.) Though
              the guidance does not explicitly define "risk factors for severe ill-
              ness," it cites to the same CDC webpage with risk factors
              referenced in the FDA's EUAs. (Id.) Those federal risk factors in-
              clude "racial and ethnic minority groups."
              On March 4, 2022, the State Defendant issued new guidance,
              which advises that the Treatments are now ''widely available"
              and that the federal government's Test to Treat program, which
              began the week of March 7, 2022, ''will provide increased avail-
              ability of immediate testing and early treatment." (Mar. 4, 2022
              State Guidance (Dkt. 31-1).)
              The City's Health Advisory #39 (the "City Guidance") directs
              health care providers to "adhere to the New York State Depart-
              ment of Health . . . guidance on prioritization of high-risk
              patients ... during this time of severe resource limitations."




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              (Health Advisory #39 at 2 (Dkt. 1-6).) The City Guidance reiter-
              ates the eligibility criteria from the State Guidance and adds:
              "Consider race and ethnicity when assessing an individual)s risk.
              Impacts of longstanding systemic health and social inequities put
              Black, Indigenous, and People of Color at increased risk of severe
              COVID-19 outcomes and death." (Id. at 4.)
              On February 1, 2022, the City Defendant issued Health Advisory
              #2, which superseded the challenged guidance. (March 2, 2022
              Tr. 32:16-23.) The new advisory notes that the treatments are in
              stock, but that "supplies remain limited."4
              Plaintiff Jonathan Roberts is a vaccinated 61-year-old non-His-
              panic and white resident of Manhattan with no known risk
              factors; his co-Plaintiff Charles Vavruska is a vaccinated 55-year-
              old non-Hispanic and white resident of Queens, and is over-
              weight or obese, which is considered a risk factor. (Mot. at 6.)
              Plaintiffs assert that they are entitled to access to the Treatments
              on an equal basis, without regard to their race. Roberts, who does
              not meet the eligibility requirements, contends that he is entirely
              denied access to the drugs. (Id. at 8.)
              Plaintiffs allege that this scheme makes race determinative in two
              ways. First, among members in the same risk group, individuals
              who are non-white or Hispanic receive higher priority for treat-
              ment over those who are of the same age and have the same race-
              neutral risk factors. (Id. at 4.) Second, being a member of any
              minority group could move an individual to a higher risk group.
              (Id.) On this basis, Plaintiffs contend that Defendants have vio-
              lated the equal protection clause of the Fourteen Amendment in
              issuing the challenged guidance.
              Defendants assert that the directives are merely guidance to be
              used in emergency periods of limited supplies and do not sup-
              plant the judgment of a medical provider. (State's Opp. at 3.)

              4 N .Y.C. Dep't of Health & Mental Hygiene, Health Advisory # 2: Paxlovid is

              Available for COVID-19 Treatment in New York City (Feb. 1, 2022),
              https ://wwwl .nyc.gov/ assets/doh/downloads/pdf/ han/advi-
              sory/2022/covid-pax.lovid-available. pdf.




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              They argue the guidance "simply provides medical practitioners
              with information about known risk factors for severe illness, hos-
              pitalization, and death, based on abundantly reported, objective,
              data." (Id. at 6.) Although Plaintiffs state that Roberts is categor-
              ically ineligible for the medication, Defendants maintain that
              "[n]othing in the ... Guidance prevents the Plaintiffs ... from
              receiving the Therapies ... if their practitioner concludes that
              such treatment is clinically appropriate.>' (Id.)
              Defendants further contend that there is no longer a shortage of
              the Treatments, and the guidance applied only "during [a past]
              time of severe resource limitations." (Id. at 16.) Plaintiffs counter
              that providers frequently report low stock and, given the unpre-
              dictability of the COVID-19 pandemic and the likelihood of future
              variants, a future shortage is not unlikely. (Mot. at 7, 9.)
              On February 18, 2022, Plaintiffs moved for a preliminary injunc-
              tion, seeldng to enjoin Defendants from distributing the
              Treatments in accordance with the above guidance.
              II. LEGAL STANDARD

              "It is axiomatic that federal courts are courts of limited jurisdic-
              tion and may not decide cases over which they lack subject
              matter jurisdiction," Lyndonville Sav. Bank & Tr. v. Lussier, 211
              F.3d 697, 700 (2d Cir. 2000), and "standing is perhaps the most
              important of the jurisdictional doctrines." FW/PBS, Inc. v. City of
              Dallas, 493 U.S. 215, 231 (1990). 5 If a court does not have sub-
              ject matter jurisdiction, the action must be dismissed. Fed. R. Civ.
              P. 12(h)(3); Cave v. E. Meadow Union Free Sch. Dist. , 514 F.3d
              240, 251 (2d Cir. 2008) ("Appellants' motion for a preliminary
              injunction should therefore have been dismissed for lack of juris-
              diction, rather than on the ground that appellants are unlikely to
              succeed on the merits of their action."). The party "involdng the
              authority of the court bears the burden of proof on the issue of



              5 When quoting cases, and unless otherwise noted, all citations and quota•
              tion marks are omitted, and all alterations are adopted.




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              standing." Leev. Bd. of Governors of the Fed. Reserve Sys., 118 F.3d
              905, 910 (2d Cir. 1997).
              To establish Article III standing, a plaintiff must show (1) an in-
              jury in fact, which is (a) concrete and particularized, and (b)
              actual or imminent, not conjectural or hypothetical; (2) that the
              injury is fairly traceable to the challenged action of the defend-
              ant; and (3) that it is likely the injury will be redressed by a
              favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555,
              560-61 (1992).
              III. DISCUSSION

                  A.   Article III Standing
                       1.   Injury in Fact
              There are two components to establishing an "injury in fact."
              First, a plaintiff must show that the harm was concrete and par-
              ticularized; and second, a plaintiff must show that the harm was
              actual or imminent. See id. at 560.
                       a.   Concrete and Particularized
              The parties submit that in the equal protection context, the injury
              in fact "is the denial of equal treatment resulting from the impo-
              sition of [a] barrier," which "makes it more difficult for members
              of one group to obtain a benefit than it is for members of another
              group." Ne. Fla. Chap. ofAssoc. Gen. Contractors ofAm. v. City of
              Jacksonville, 508 U.S. 656, 666 (1993). The injury is not "the ul-
              timate inability to obtain the benefit." Id. The Second Circuit has
              set forth the following criteria for establishing standing under the
              ''barrier" standard, that: "(l) there exists a reasonable likelihood
              that the plaintiff is in the disadvantaged group, (2) there exists a
              government-erected barrier, and (3) the barrier causes members
              of one group to be treated differently from members of the other
              group." Comerv. Cisneros, 37 F.3d 775, 793 (2d Cir. 1994).
              The court accepts that to the extent there is a group that is "dis-
              advantaged" by Defendants' guidance, there is a reasonable
              likelihood that Plaintiffs, as white and non-Hispanic individuals,




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              are members of the group. But the court is not convinced that
              Plaintiffs have shown the challenged guidance either constitutes
              a barrier or causes one group to be treated differently from an-
              other.
                       b.   Existence of a Government-Erected Barrier
              The ''barrier" concept described in City ofJacksonville has its roots
              in Regents of University of California v. Bakke, in which the Su-
              Supreme Court explained that, in the affirmative action context,
              a plaintiffs injury was his inability "to compete for all 100 places
              in the class." 438 U.S. 265,280 n.14 (1978). The impetus behind
              this standard was to save those plaintiffs from having to affirma-
              tively show that they would have obtained the benefit but for the
              barrier-in Bakke, that the applicant would have otherwise been
              admitted to medical school. However, the barrier standard does
              not dispense with the Article III injury requirement; a policy or
              program is only a ''barrier" if it denies plaintiffs equal treatment
              in some manner.
              In Bakke and City of Jacksonville, the Court found that a barrier
              existed because the policies at issue set aside a predetermined
              number of spots or amount of funding for individuals from un-
              derrepresented groups; in effect, they created quotas. See City of
              Jacksonville, 508 U.S. at 658 (10% of amount spent on city con-
              tracts set aside for "Minority Business Enterprises"); Bakke, 438
              U.S. at 266 (16 out of 100 places in the medical school class re-
              served for "minority'' students). Thus, these barriers denied
              plaintiffs equal treatment because fewer spots or less funding
              were accessible to them than a similarly situated underrepre-
              sented candidate.
              The Court has explicitly employed the barrier approach to stand-
              ing on only a few occasions in majority opinions since City of
              Jacksonville. First, inAdarand Constructors, Inc. v. Pena, a subcon-
              tractor alleged racial discrimination stemming from a
              government program, which provided compensation to contrac-
              tors if they hired small businesses controlled by "socially and
              economically disadvantaged individuals," defined as "Black
              Americans, Hispanic Americans, Native Americans, Asian Pacific




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              Americans, and other minorities, or any other individual found
              to be disadvantaged by the Small Business Administration." 515
              U.S. 200, 205 (1995). 6 The Court found that the plaintiff had
              standing to seek prospective relief because the "discriminatory
              classification prevents the plaintiff from competing on an equal
              footing." Id. at 211. Like the City of Jacksonville scheme, which
              rendered a pot of funds accessible to underrepresented candi-
              dates but entirely inaccessible to the plaintiffs, the government
              program in Adarand awarded funds only to members of disad-
              vantaged groups.
              A decade after City of Jacksonville, in Gratz v. Bollinger, the Court
              revisited the barrier standard. 539 U.S. 244 (2003). 7 The rele-
              vant University of Michigan admission policy provided that
              "underrepresented minority freshman applicants receive 20
              points" of the 100 points needed to guarantee admission. Id. at




              6Other regulations provided for the inclusion of women and other socially
              or economically disadvantaged individuals in this program. See id. at 208.
              7 Plaintiffs note Gratz's companion case, Grutter v. Bollinger, as support for
              their conception of standing in the context of the equal protection clause.
              539 U.S. 306 (2003). In Grutter, the Court noted that the plaintiff "clearly
              has standing" and cited City of Jacksonville, but it neither mentioned the
              barrier standard nor provided further analysis, and standing was not ad-
              dressed in by the lower court decisions. Id. at 317. Without more from the
              Court, it is difficult to know whether the decision to find standing rested
              on the barrier standard or some other standard and why the Court deter-
              mined there was standing. Undoubtedly, the permissible race-conscious
              law school admissions policy in Grutter is more similar to the challenged
              guidance in this case than the other barrier cases that the Court has con-
              sidered. Still, the court is not troubled by any apparent similarities in the
              nature of the barrier. Even if the challenged guidance did constitute a "bar-
              rier," Plaintiffs' claim is neither concrete and particularized nor actual or
              imminent, whereas Grutter's injury clearly was: She had personally been
              rejected from the University of Michigan Law School and sought, among
              other relief, compensatory and punitive (rather than nominal) damages in
              addition to an order requiring the institution to offer her, personally, ad-
              mission. See id.




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              266. 8 This undergraduate admission policy was similar to the
              scheme in Adarand in that 20 points, or 20% of the total points
              needed to gain admittance, were offered only to underrepre-
              sented minorities. Because the points were completely
              unavailable to applicants who were not underrepresented minor-
              ities, the Court held that plaintiffs were denied equal treatment
              in the admissions process.
              Finally, in Parents Involved in Community Schools v. Seattle School
              District 1, the Court again alluded to City of Jacksonville's barrier
              standard in holding that ''being forced to compete in a race-based
              system that may prejudice the plaintiff' can constitute an equal
              protection injury. 551 U.S. 701, 719 (2007). The scheme in Par-
              ents Involved classified children based on their race, which the
              school districts "relie[d] upon ... in assigning [the] student to a
              particular school, so that the racial balance at the school [fell]
              within a predetermined range based on the racial composition of
              the school district as a whole." Id. at 709. In effect, the school
              district again had created racial quotas along the lines of the


              8 The standing analysis was complicated in this case because the class rep-
              resentative, after being rejected from the University of Michigan, alleged
              in the complaint that he intended to transfer if the "discriminatory'' admis-
              sions policy was eliminated. Gratz, 539 U.S. at 283 (Stevens, J.,
              dissenting). But the transfer policy, which the Court summarized as "all
              minimally qualified minority transfer applicants [we]re admitted out-
              right," id. at 266, was not before the Court. (Nor was it discussed in the
              lower court opinions). The Court found that the transfer student had stand-
              ing to request prospective relief as it related to the undergraduate policy
              because it was so similar to the transfer policy. Id. (explaining that the sole
              differences between the two processes were the fact that the freshman pro-
              gram used the 20-point system, whereas "virtually all . . . minimally
              qualified" underrepresented transfer students were admitted). Thus, the
              fact that the class representative was a transfer student seeking prospective
              relief as it related to the undergraduate admissions policy "clearly ha[d]
              no effect on petitioners' standing to challenge the University's use of race
              in undergraduate admissions." Id. While the Court's barrier analysis fo-
              cused more on the actual or imminent prong, it is clear that the barrier for
              standing purposes was the undergraduate admission policy, not the trans-
              fer policy.




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               scheme challenged in Bakke, making certain spots completely un-
               available to white students, thus denying them equal treatment.
               This review of the Court's racial discrimination jurisprudence un-
               der the barrier standard makes clear that the types of policies and
               programs previously found to be barriers are different than the
               State and City Guidance at issue in this case. Here, the guidance
               does not set aside a predetermined number of pills for nonwhite
               and Hispanic New Yorkers. The guidance does not advise provid-
               ers to automatically dispense pills to nonwhite and Hispanic
               patients on the basis of race or ethnicity. Nor does it set a thresh-
               old-or even target-number of points in order to obtain the
               Treatments or give some predetermined percentage of such
               points to nonwhite and Hispanic patients. It is, rather and em-
               phatically, guidance. Defendants' documents are nonbinding and
               have no mechanism for present or future enforcement. The guid-
               ance merely advises providers to consider race and ethnicity as
               one of many factors in assessing the patient before them, con-
               sistent with medical evidence and with the limited FDA EUAs for
               the Treatments. Nor are medical practitioners akin to educational
               institutions or governmental agencies reviewing a total set of ap-
               plicants and comparing them to one another to determine who
               qualifies for a benefit. Instead, individual practitioners, third par-
               ties otherwise unconnected to Defendants, make individualized
               assessments of each of their own patients and decide on an ap-
               propriate course of treatment. The court is skeptical that the
               injury alleged here constitutes a barrier under the Supreme
               Court's previous decisions given these important distinctions.
               However, even if it did, City of Jacksonville emphasizes the im-
               portance of finding that a barrier impacted the plaintiffs
               personally, and as discussed in the following sections, Plaintiffs
               have alleged neither a concrete and particularized nor actual or
               imminent injury.




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                       c.   Impact of the Alleged Barrier on Different Groups
              As to the third element set forth in Cisneros, Plaintiffs also must
              show that the challenged guidance causes them to be treated dif-
              ferently than members of other groups. But Plaintiffs fail to show
              that their injury is anything more than a generalized grievance.
              Although the court acknowledges that the injury in fact require-
              ment "is not as stringent in Equal Protection cases, a plaintiff still
              must establish that she has suffered some sort of identifiable
              harm." Youth Alive v. Hauppauge Sch. Di.st., No. 08-CV-1068
              (NGG) (VMS), 2012 WL 4891561, at ,·,2 (E.D.N.Y. Oct. 15,
              2012). This is particularly true in light of the Supreme Court's
              recent decision in Spokeo v. Robins, which emphasized the "con-
              creteness" and (<particularization" elements of an injury in fact.
              As Justice Alito explained for the Court, an injury "must affect
              the plaintiff in a personal and individual way'' and must also be
              concrete, "that is, it must actually exist." 578 U.S. 330, 339-340
              (2016). Thus, for example, the Court has declined to find stand-
              ing where plaintiffs alleged an injury based on the IRS's grant of
              a tax-exemption to a racially discriminatory school. See Allen v.
              Wright, 468 U.S. 737, 755-56 (1984). The court explained that
              there had been merely an "abstract stigmatic injury," and were
              the court to permit plaintiffs to proceed on that basis, "[a] black
              person in Hawaii could challenge the grant of a tax exemption
              to a racially discriminatory school in Maine." Id. at 756.
              Consistent with this requirement, the Court has "refused to rec-
              ognize a generalized grievance against allegedly illegal
              governmental conduct as sufficient for standing." United States
              v. Hays, 515 U.S. 737, 743 (1995). This rule that generalized
              grievances cannot satisfy Article III standing "applies with as
              much force in the equal protection context as in any other." Id.
              Where the government allegedly discriminates on the basis of
              race, "the resulting injury accords a basis for standing only to
              those persons who are personally denied equal treatment by the
              challenged discriminatory conduct." Id. at 743-744 (emphasis
              added); see also Camey v. Adams, 141 S.Ct. 493, 502 (2020)




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               ("[Plaintiff] has not sufficiently differentiated himself from a gen-
               eral population of individuals affected in the abstract by the legal
               provision he attacks."). In accordance with the Court's general-
               ized grievance jurisprudence, courts in this district applying the
               barrier standard have looked for some type of identifiable harm.
               See, e.g., Evans v. Port Auth. of N.Y. & N.J., 15-CV-3942 (MKB),
               2017 WL 3396444, at *S-6 (E.D.N.Y. Aug. 8, 2017) (holding that
               plaintiffs did not show "that they have been injured in a personal
               and individual way'' where employing the barrier standard);
               Credico v. N.Y. State Bd. of Elections, No. 10-CV-4555 (RID)
               (CLP), 2013 WL 3990784, at 1'8-*9 (E.D.N.Y. Aug. 5, 2013) (an-
               alyzing whether the alleged barrier imposed a concrete injury on
               plaintiffs); Youth Alive, 2012 WL 4891561, at *3 (finding that the
               the challenged practice "had no discernible impact on Plaintiffs'
               ability to exercise their First Amendment rights").
               Plaintiffs have not explained how nonbinding guidance that di-
               rects medical practitioners to consider race and ethnicity as one
               factor in prescribing the Treatments impacts them in some con-
               crete and particularized manner. Plaintiffs never contracted
               COVID-19 nor sought out the Treatments during the period of
               shortage. Plaintiffs have proffered no evidence beyond the mere
               existence of the nonbinding guidance to demonstrate that Plain-
               tiffs or any other white, non-Hispanic person (who, in any event,
               is not before this court) have faced a barrier "that actually exists"
               to obtaining the Treatments on the basis of their race. Plaintiffs
               have not even alleged that during the period of shortage that any
               person whatsoever was denied the Treatments. This action, then,
               "resembles a complaint asserting that the plaintiffs chances of
               winning the lottery were reduced, filed by a plaintiff who never
               bought a lottery ticket, or who tore it up before the winner was
               announced." Clinton v. City of N.Y., 524 U.S. 417, 458 (1998)
               (Scalia, J., concurring). Indeed, it is not clear the lottery ever took
               place.
               At this stage, any "injury'' is, at most, the type of "abstract stig-
               matic harm" that the Court rejected in Allen. That conclusion is
               buttressed by Plaintiffs' request for only nominal damages. If the
               court were to accept this conception of an injury in fact, it would




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              be opening its doors to the type of generalized grievances that
              "transform the federal courts into no more than a vehicle for the
              vindication of the value interests of concerned bystanders." Allen,
              468 U.S. at 756. It would be permitting millions of not-yet-in-
              jured New Yorkers to sue Defendants.
              Without evidence of the impact of this alleged barrier in practice
              and how it has denied these particular Plaintiffs equal treatment,
              the court is unable to find that this injury is sufficiently concrete
              or particularized to constitute an Article III injury.
                       d. Actual or Imminent
              Even if this court were to find that Plaintiffs' alleged barrier was
              sufficiently concrete and particularized, the injury must also be
              actual or imminent to constitute an injury in fact. See Lujan, 504
              U.S. at 560. Plaintiffs are not permitted to rely on a "speculative
              chain of possibilities," particularly where they involve "the unfet-
              tered choices made by independent actors not before the court."
              Clapper v. Amnesty Int'l USA, 568 U.S. 398, 414 & n.5 (2013).
              Instead, the injury must be "certainly impending." Id. at 410.
              Plaintiffs appear to argue that somehow the Court's holding in
              Clapper cannot apply in the equal protection context, because the
              injury "is not the ultimate denial of the treatments, but the gov-
              ernment-imposed barriers to obtaining those treatments." (Pl.'s
              Reply in Supp. of Mot for Prelim. Inj. at 5 ("Reply") (Dkt. 27).)
              But even in barrier cases, courts must still inquire into whether
              the injury is "imminent'' or "certainly impending." MGM Resorts
              Int't Glob. Gaming Dev., LLC v. Malloy, 861 F.3d 40, 46-47 (2d
              Cir. 2017).
              In City ofJacksonville, the Court found that the barrier injury was
              sufficiently actual or imminent where plaintiffs "regularly bid on
              contracts in Jacksonville and would bid on those that the city's
              ordinance makes unavailable to them." 508 U.S. at 668. Like-
              wise, inAdarand, the Court accepted the imminence of the injury
              because the plaintiffs general manager testified that the com-
              pany had bid on every guardrail project in the state. 515 U.S. at
              212. Conversely, the Second Circuit did not find imminence




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              where a plaintiff was merely "interested" in exploring an oppor-
              ronity and "made initial srodies of ... viability." Malloy, 861 F.3d
              at 47. This is because the competition was "purely abstract," and
              there was not yet an "uneven playing field." Id. at 51; see also
              Camey, 141 S.Ct. at 501-03 (contrasting the plaintiff's "few
              words of general intent'' about applying for a judgeship with
              "similar cases ... contain[ing] more evidence that the plaintiff
              was 'able and ready'" to apply, including Adarand, City of Jack-
              sonville, and Gratz). The lesson from these cases is plain: A
              plaintiff is not injured by the mere existence of a barrier denying
              equal treatment, but must also show that the barrier threatens to
              wreak harm that is acroal or imminent to them. Unlike the plain-
              tiffs in the Supreme Court's barrier cases, Plaintiffs' attempts here
              to "compete" for the benefit of the Treatments are "still entirely
              conjecroral." Malloy, 861 F.3d at 51.
              With respect to Plaintiffs' request for prospective relief, the court
              agrees with Plaintiffs that it is impractical to wait until a person
              has tested positive for COVID-19 to file suit challenging the guid-
              ance. (Mot. at 9.) But in order to justify injunctive relief, even
              assuming they were injured in the past, Plaintiffs must at very
              least be able to establish a likelihood they will be subject to the
              same treatment in the furore. See City ofLos Angeles v. Lyons, 461
              U.S. 95,111 (1983). In this period of surplus, however, the State
              Guidance is not in effect, and the City Guidance has been super-
              seded. Although Plaintiffs argue that a furore shortage is likely in
              light of the unpredictability of the COVID-19 virus and possible
              variants, a possibility the court acknowledges, the federal gov-
              ernment has announced that Pfizer alone--the manufacturer of
              only one of the three Treatments- will provide "1 Million pills
              this month and more than double that next month."9 At this rate

              9 The White House, Remarks of President Joe Biden - State of the Union

              Address     As    Prepared       for    Delivery      (Mar.     1,     2022),
              https://www.whitehouse.gov/briefing-room/speeches-re-
              marks/2022/03/01/remarks-of-president-joe-biden-state-of-the-union-
              address-as-delivered/; see also Press Release, Pfizer to Provide U.S. Govern-
              ment with an Additional 10 Million Treatment Courses of its Oral Therapy to




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               of production, as compared to the current COVID-19 case counts,
               the possibility of a future shortage appears increasingly specula-
               tive and nowhere near imminent. Further, there is no indication
               that future variants will be responsive to the Treatments. There
               would at least have to be a future shortage; the State Guidance
               would have to come back into effect; and the City would have to
               issue new guidance using race and ethnicity in a similar manner
               to the superseded guidance. None of these events are imminent.
               Turning to Plaintiffs' request for retrospective relief for the period
               in which the challenged guidance was in place, to incur even
               nominal damages, the Plaintiffs would have had to actually run
               up against the alleged barrier and experience a denial of equal
               treatment. See City ofJacksonville, 508 U.S. at 666 (injury is "the
               denial of equal treatment resulting from the imposition of the bar-
               rier'' (emphasis added)). First, Plaintiffs, who are both
               vaccinated, would have needed to contract COVID-19. Second,
               they would have needed to seek out the Treatments from a med-
               ical provider. Third, the medical provider would have needed to
               rely on the nonbinding guidance to determine whether to pre-
               scribe the Treatments. Fourth, and finally, that provider would
               have needed to apply the guidance in such a manner so as to
               deny Plaintiffs equal treatment. This requisite chain of events
               demonstrates that Plaintiffs' allegation of injury is "too specula-
               tive to satisfy the well-established requirement that threatened
               injury must be certainly impending." See Clapper, 568 U.S. at
               401. Plaintiffs have not yet come anywhere close to arriving at
               the "uneven playing field," let alone attempted to compete on it.
               Malloy, 861 F.3d at 51. This is not to say that Plaintiffs would
               have to show they had laced up for a game they were destined
               to lose, but the game itself would have had to at least been



               Help        Combat          COVID-19           (Jan.      4,       2022),
               https://www.pfizer.com/ news/press-release/ press-release-detail/ pfizer-
               provide-us-government-additional-10-million (announcing that Pfizer will
               supply the federal government with 20 million Paxlovid treatment courses,
               half of which will be delivered by the end of June 2022).




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               played. Because it never was, Plaintiffs fail to allege an injury that
               is actual or imminent.
               Since Plaintiffs fail to allege an injury that is concrete and partic-
               ularized and actual or imminent, Plaintiffs cannot satisfy the
               injury in fact requirement. Accordingly, the court finds that Plain-
               tiffs lack standing on this ground.
                        2. Traceability
              Even assuming Plaintiffs could establish an injury in fact, they
              would need to establish traceability-that there be a "causal con-
              nection between the injury and the conduct complained of,"
              which should not be "the result of the independent action of
              some third party not before the court." Lujan, 504 U.S. at 560.
              The "line of causation" between the allegedly unconstitutional
              conduct and the plaintiffs injury may not be "too attenuated."
              Allen, 468 U.S. at 752, 759; see also Simon v. E. Kentucky Welfare
              Right.s Org., 426 U.S. 26, 42-43 (1976) ("It is purely speculative
              whether the denials of service specified in the complaint fairly
              can be traced to [IRS] 'encouragement' or instead result from de-
              cisions made by the hospitals without regard to the tax
              implications.,,). Although a plaintiff "need not allege that a de-
              fendant's challenged actions were the very last step in a chain of
              events leading to an alleged injury," they must at least "plead
              facts indicating that a defendant's actions had a determinative or
              coercive effect upon the action of someone else who directly
              caused the alleged injury." Nat'l Council of La Raza v. Mukasey,
              283 F. App'x 848, 851 (2d Cir. 2008) (summary order) (citing
              Bennett v. Spear, 520 U.S. 154 (1997)). In La Raza, the Second
              Circuit found that the federal government's policy and practice
              of entering civil immigration records into criminal records data-
              bases, which were then accessible by state and .local law
              enforcement agencies, was not sufficiently "determinative or co-
              ercive" where no "adverse consequences" resulted from
              resistance to the policy. Id. at 852. In reaching this decision, the
              La Raza panel distinguished the Supreme Court's decision in Ben-
              net, 520 U.S. at 170, where a Fish and Wildlife Services opinion




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               by contrast could result in "substantial civil and criminal penal-
               ties." Id.
              Because the injury alleged here is unequal treatment as a result
              of the nonbinding guidance, the hypothetical injury occurs at the
              point that medical practitioners make decisions in reliance on the
              guidance. The traceability question-insofar as the injury traces
              back to Defendants-then hinges upon whether the challenged
              guidance had a "determinative or coercive effect'' upon medical
              practitioners. Plaintiffs contend that even if the challenged guid-
              ance "do[es] not expressly provide for a penalty ... the Supreme
              Court 'appears willing to presume that the government will en-
              force the law as long as the relevant statute is recent and not
              moribund."' (Mot. at 10 (quotingHedgesv. Obama, 724 F.3d 170,
              197 (2d Cir. 2013)).) While conceding that the injury may also
              be attributable to providers, Plaintiffs maintain that the injury is
              still "fairly traceable" to Defendants. (Id.) In response, State De-
              fendant explains that practitioners mal<.e independent
              judgments, so any hypothetical scenario in which Plaintiffs were
              unable to get a prescription for the Treatments would not be
              traceable to the challenged guidance. (State Opp. at 15.) Plain-
              tiffs counter that the State "cannot blame physicians or
              practitioners if they follow the government-created guidance."
              (Reply at 5.)
               Hedges, however, describes the Court's approach to pre-enforce-
               ment challenges to laws. This case, by contrast, challenges
               nonbinding guidance, not law, and it does not do so in a pre-
               enforcement posture. The court is therefore unwilling to pre-
               sume, as in Hedges, that a law is likely to soon be enforced when
               it is not even dear whether the challenged guidance ever will be,
               or ever can be. Indeed, there are no penalties for failure to abide
               by the guidance, nor is there any enforcement mechanism in
               place. Given that practitioners ultimately impose any alleged de-
               nial of equal treatment, and the nonbinding guidance has no
               "determinative or coercive effect" on these practitioners, the
               court finds that Plaintiffs lack standing on this alternative
               ground.




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                       3.   Redressability
              The final element of standing is redressability. Plaintiffs must
              show that it is "likely, as opposed to merely speculative, that the
              injury will be redressed by a favorable decision." Lujan, 504 U.S.
              at 561. The Supreme Court has distinguished between redressa-
              bility in the context of "identifiable Government violations of
              law'' and lawsuits "challeg[ing] a more generalized level of Gov-
              ernment action." Id. at 568 (distinguishing between challenging
              "decisions to fund particular projects allegedly causing [plain-
              tiffs] harm" and an agency regulation). Where, as here, plaintiffs
              elect to challenge the latter, the Court has expressed that "[s]uch
              suits, even when premised on allegations of several instances of
              violations of law, are rarely if ever appropriate for federal-court
              adjudication." Allen, 468 U.S. at 759-60. This is particularly true
              in cases where the individual or entity directly inflicting the in-
              jury, i.e. the medical provider, is not a party. The court can
              "accord relief only against" parties to the suit. Lujan, 504 U.S. at
              568.
              Courts in the Second Circuit have put the onus on Plaintiffs to
              show that withdrawing guidance impacting third parties would
              redress their injuries. In Town of Babylon v. Federal Housing Fi-
              nance Agency, the Town of Babylon and the National Resources
              Defense Council alleged that a Federal Housing Finance Agency
              directive and Office of Comptroller of the Currency ("OCC") bul-
              letin adversely impacted certain clean energy programs. 699 F.3d
              221, 224 (2d Cir. 2012). The court assessed whether plaintiffs
              had standing to challenge the OCC Bulletin for allegedly altering
              the lending practices of national banks, which were not party to
              the litigation. Id. at 229-30. Focusing on the fact that "[n]othing
              in the OCC Bulletin compelled national banks to take any action,"
              and that it was "Supervisory Guidance," the court found that
              plaintiffs failed to show that the "national banks regulated by the
              OCC would act differently were the OCC Bulletin vacated." Id.
              Lower courts in the Second Circuit have taken a similar ap-
              proach. See, e.g., Doe v. U.S. Secy of Transp., No. 17-CV-7868
               (CS), 2018 WL 6411277, at *6 (S.D.N.Y. Dec. 4, 2018) ("Plain-
              tiffs ... allege that airlines and hotels have explained that they




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               are required to allow dogs on their premises due to federal regu-
               lations, but that does not equate to an allegation that, absent the
               regulations, the regulated entities would exclude service ani-
               mals."); Town of Southold v. Town of E. Hampton, 406 F. Supp.
               2d 227,236 (E.D.N.Y. 2005) ("Since ferry operators rather than
               the Town Plaintiffs are the objects of the Ferry Law, and the
               Town Plaintiffs can show neither that the Ferry Law caused their
               alleged injury nor that these alleged injuries would be redressed
               by a favorable decision, they do not satisfy the Article III standing
               requirements."), ajfd & rev'd on other grounds, 477 F.3d 38, 46
               (2d Cir. 2007).
               Here, Plaintiffs challenge broad nonbinding guidance rather than
               an "identifiable Government violation of the law." See Lujan, 504
               U.S. at 568. The "regulated parties" under the guidance are med-
               ical providers in New York who implement the guidance and
               thereby inflict the alleged injury. These providers are not before
               this court, and as a result, the court is not able to control their
               activities. Thus, Plaintiffs must show the court that providers
               would behave differently in the absence of the guidance. Plain-
               tiffs have not done so.
              Moreover, as the State Defendant has pointed out, in the absence
              of the State and City guidance, many elements of the guidance
              would certainly remain in place. Cf Town ofBabylon, 699 F.3d at
              230. Based on the court's understanding of the FDA's EUAs,
              Plaintiff Roberts would be in the exact same situation in the ab-
              sence of the guidance. The EUAs for the Treatments are limited
              to individuals with a high risk of developing severe COVID-19, as
              defined by the CDC's risk factors. Roberts alleges that he has
              none of these risk factors. (Compl. tJ 39.) Thus, with or without
              this policy, Roberts faces a complete barrier to obtaining the
              Treatments. Even if he were eligible under the EUAs, Plaintiffs
              have not alleged how practitioners would act in the absence of
              the guidance. They allege that the "CDC Guidance does not em-
              ploy race in the same way as the directives" without explaining
              further. (Reply at 5.) As the court sees it, though, the EUAs di- .
              rectly point providers to the CDC risk factors, which themselves
              include the consideration of race and ethnicity. Providers could




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                 be expected to follow the CDC guidance and other available sci-
                 entific and medical research about the nature of race and
                 ethnicity as risk factors. Thus, it is not clear that they would be-
                 have differently in the absence of the challenged guidance.
                 Plaintiffs have not shown it is likely that that their injuries will be
                 redressed by a favorable decision. Thus, the court finds yet an-
                 other reason that they do not have standing.
                 IV. CONCLUSION

                 For the reasons explained above, all claims against Defendants
                 are DISMISSED without prejudice.
        SO ORDERED.


        Dated:       Brooklyn, New York
                     March iS-, 2022
                                                                 s/Nicholas G. Garaufis
                                                               '1,J1cHoLAs G. GARAURS
                                                                United States District Judge




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